                Exhibit I




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                                                                   Sarah Butler
                                                                   Managing Director

                                                                   National Economic Research Associates, Inc
                                                                   4 Embarcadero, Suite 400
                                                                   San Francisco, CA 94111
                                                                   + 1 415 291 1000 Fax + 1 415 291 1010
                                                                   Direct dial: + 1 415 291 1022
                                                                   sarah.butler@nera.com
                                                                   www.nera.com




                             SARAH BUTLER, M.A.
                                 MANAGING DIRECTOR


Ms. Butler is an expert in survey research, market research, sampling, and statistical analysis.
She has applied her expertise in a wide range of litigation and strategic business cases. Her
litigation and project experience includes survey research, market research, the design of
samples, and the statistical and demographic analysis of large data files in a number of areas
including:


Intellectual Property

   •   Trademark and Trade Dress Infringement: Design, analysis, and critique of surveys used
       to measure consumer confusion, secondary meaning, and dilution in trademark and trade
       design infringement cases.

   •   False and Misleading Advertising: Design, analysis and critique of surveys used to
       measure consumer perceptions and the materiality of advertising claims.

   •   Patent Infringement: Sample designs and surveys to the value of patented feature of a
       larger product and to establish rates at which infringing material exist in populations of
       products.

   •   Copyright infringement: Sampling plans and analysis of the rates of infringing material
       in populations of shared information (such as through websites or other sharing medium).


Mass Torts/Class Actions

   •   Conduct surveys and design samples providing evidence on issues of commonality and
       consumers’ awareness of key documents or facts and reliance on representations.

   •   Analyze large databases of claims files to generate invoices, estimate future liabilities and
       calculate policy shares for insurer liabilities in asbestos, tobacco and pharmaceuticals.

   •   Design, analyze and critique surveys and sampling plans used to evaluate employment
       and promotion records. Review and design surveys for purposes of estimating key facts




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        in labor class actions including time to complete activities, exempt/nonexempt activities,
        and meal and rest break issues.

Antitrust

    •   Design, analysis and critique of surveys and other market research used as evidence of
        consumer purchasing and switching behavior in the areas of CPG, entertainment,
        automobiles, public transportation, sports and consumer electronics.

    •   Design, analysis and critique of surveys used to demonstrate consumer price sensitivities
        and willingness to pay.


Prior to joining NERA, Ms. Butler worked in market research, conducting survey research, focus
groups and in-depth interviews.


Education
                 Temple University
                 Applied Sociology, coursework, exams and dissertation proposal complete
                 (2005).

                 Temple University
                 M.A. Sociology, (2000).

                 Trinity College, Dublin Ireland
                 M.Phil. (1997).

                 Wellesley College
                 B.A. Sociology and History (with honors). (1995).



Professional Experience
July 2006 - Present            Senior Consultant – Managing Director
                               NERA Economic Consulting
                               San Francisco, California, USA

Oct 2005 – May 2006            Special Consultant
                               NERA Economic Consulting
                               London, England

Jan 2003 – Oct 2005            Senior Analyst - Consultant
                               NERA Economic Consulting
                               Philadelphia, Pennsylvania, USA




NERA Economic Consulting                                                                        2
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2002 - 2003                     Consultant
                                Integrated Marketing Associates
                                Bryn Mawr, PA, USA

Oct 1998 - Jan 2002             Research Associate – Analyst
                                NERA Economic Consulting
                                Philadelphia, Pennsylvania, USA

Sept 1998 – May 2003            Adjunct Professor
                                Temple University
                                Philadelphia, Pennsylvania, USA

Jan 1997 – Feb 1998             Manager of Member Research
                                Society for Neuroscience
                                Washington DC, USA


Expert Analysis and Testimony
2022

Intellectual Property Matters

Warner Bros. Entertainment Inc. vs. Brian Biggs, Dawn Biggs, and Random Tuesday, Inc. et al.
United States District Court Central District of California. Expert Report.

2021

Intellectual Property Matters

Power Home Remodeling Group, LLC v. Power Home Solar LLC d/b/a Powerhome Solar, also
d/b/a Powerhome Solar & Roofing, also d/b/a Power Home Solar and Roofing. United States
District Court Eastern District of Pennsylvania. Expert Report.

Honda Motor Co., LTD., v. Microsoft Corporation. United States Patent and Trademark Office
before the Trademark Trial and Appeal Board. Expert Report.

Kaifi LLC v. T-Mobile US, Inc.; LAYER3 TV, Inc.; L3TV Dallas Cable System, LLC;
METROPCS Texas, LLC; T-Mobile License LLC; T-Mobile USA, INC.; T-Mobile West LLC; T-
Mobile West Tower LLC; IBSV LLC; Theory Mobile, Inc.; T-Mobile PCS Holdings LLC; T-Mobile
Resources Corporation; and T-Mobile Subsidiary IV Corporation.* United States District Court
Eastern District of Texas Marshall Division. Expert Report. Deposition.

Premier Specialty Brands LLC, d/b/a Kamado Joe v. Dansons US, LLC and Dansons, Inc. d/b/a
Louisiana Grills. United States District Court for the Norther District of Atlanta, Georgia
Division. Expert Report. Deposition.



NERA Economic Consulting                                                                       3
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Crocs, Inc.* v. Effervescent, Inc. et. al. United States District Court for the District of Colorado.
Expert Report. Deposition.

Theia Technologies LLC v. Theia Group, Inc. and Theia Holdings A, Inc.* United States District
Court for the Eastern District of Pennsylvania. Expert Report.

Lambda Labs, Inc.* v. Lambda Inc.* United States District Court for the Northern District of
California Oakland Division. Expert Report.

Storage Cap Management LP* v. Robarco, Inc. and SpareSpace Storage, LLC United States
District Court for the Southern District of Ohio Eastern Division. Expert Report. Deposition.

Clear Imaging Research, LLC v. Samsung Electronics Co. LTD and Samsung Electronics
America.* Expert Report. Deposition.

Patagonia, Inc. and Patagonia Provisions, Inc. v. Anheuser-Busch, LLC dba Patagonia Brewing
Co.* United States District Court for the Central District of California Western Division, Los
Angeles. Expert Report.

In the Matter of Certain Audio Players and Controllers, Components Thereof, and Products
Containing the Same. United States International Trade Commission, Washington DC. Expert
Report. Deposition. Trial Testimony.

Vivint Inc.* v. Alarm.com United States District Court for the District of Utah. Expert Report.
Deposition.


Class Action Matters

Kristen Schertzer, Meagan Hicks, Brittany Covell v. Bank of America, N.A., Cardtronics, Inc.,
FCTI, Inc., Cash Depot, Ltd. And DOES 1-50. United States District Court Southern District of
California. Expert Report. Deposition.

Warren Gross, Deborah Levin, Shelby Cooper, and Edward Buchannan v. Vilore Foods
Company, Inc., Arizona Canning Company, LLC. United States District Court Southern District
of California. Expert Report. Rebuttal Report.

Scott and Rhonda Burnett, Ryan Hendrickson, Jerod Breit, Scott Trupiano, and Jeremy Keel v.
The National Association of Realtors, Realogy Holdings Corp., Homeservices of America, Inc.,
BHH Affiliates, LLC, HSF Affiliates, LLC, Re/Max LLC, and Keller Williams Realty, Inc.,
United States District Court for the Western District of Missouri, Western Division. Expert
Report.

In re: Marriott International, Inc., Customer Data Security Breach Litigation. United States
District Court of Maryland, Southern Division. Expert Report. Deposition.



NERA Economic Consulting                                                                                4
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Christopher Julian et. al. v. TTE Technology, Inc., dba TCL North America.* United States
District Court for the Northern District of California. Expert Report.

Kaylan Morris, et. al. v. Walmart Inc., f/k/a/ Wal-mart Stores Inc.* United States District Court,
Northern District of Alabama, Southern Division. Expert Report. Deposition. Class Certification
Testimony.

Ricardo R. Garcia, Duane K. Glover, Paul E. Jacobson, Gaetano Calise, Mykhalo I. Holovatyuk,
Brian Garcia, Paul Thompson, and David Hartman* v. Volkswagen Group of America, Inc. a/k/a
Audi of America, Inc. and Volkswagen Aktiengesellschaff. United States District Court for the
Eastern District of Virginia, Alexandria Division. Expert Report. Deposition.

Charles Tillage and Joseph Loomis* v. Comcast Corporation and Comcast Cable
Communications, LLC and Does 1-20. United States District Court for the Northern District of
California, San Francisco Division. Expert Report.

Kathleen Ryan-Blaufuss, Cathleen Mills, and Khek Kuan v. Toyota Motor Corporation, Toyota
Motor Sales, U.S.A., INC., and DOE Defendants 1-10.* United States District Court for the
Central District of California, Western Division. Expert Report. Deposition.

H. Cristina Chen-Oster, Shanna Orlich, Allison Gamba, and Mary De Luis* v. Goldman Sachs &
Co. and The Goldman Sachs Group, Inc. United States District Court for the Southern District of
New York. Expert Report. Deposition.

Michael Testone, Collin Shanks, and Lamartine Pierre, et. al., v. Barlean’s Organic Oils, LLC.*
United States District Court Southern District of California. Expert Report. Deposition.

Susan Wang Rene Lee v. StubHub, Inc.* Superior Court of the State of California for the County
of San Francisco. Expert Report.

Michael Madea and Rick Smith, et. al, v. Kennedy Endeavors, Inc.* United States District Court
for the District of Hawai’i. Expert Report. Deposition.

Shelly Benson and Lisa Caparelli, et. al, v. Newell Brands, Inc.* United States District Court for
the Northern District of Illinois. Expert Report. Deposition.

Thomas Bailey, et. al, v. Rite Aid Corporation.* United States District Court for the Northern
District of California. Expert Report. Deposition.


2020

Intellectual Property Matters




NERA Economic Consulting                                                                          5
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Nirvana LLC v. Marc Jacobs International LLC.* United States District Court Central District of
California. Expert Report. Deposition.

Girl Scouts of the United States of America* v. Boy Scouts of America. United States District
Court Southern District of New York. Expert Report. Deposition.

American Dairy Queen Corporation v. W. B. Mason Co. Inc.* United States District Court for
the District of Minnesota. Expert Report. Deposition. Trial Testimony.

Seven Networks, LLC v. Apple Inc.* United States District Court for the Eastern District of
Texas Marshall Division. Expert Report. Deposition.

New NGC, Inc. d/b/a National Gypsum Company, NGC Industries, LLC, and National Gypsum
Properties,* LLC v. Alpinebay, Inc. Expert Report. Deposition.

Glaxo Group Limited* v. Respirent Pharmaceuticals Co., LTD. United States District Court
Southern District of New York. Expert Report.

Kaifi LLC v. AT&T Inc.; AT&T Corp.; AT&T Communications, LLC; AT&T Mobility, LLC;
and AT&T Services, Inc.* United States District Court Eastern District of Texas Marshall
Division. Expert Report. Deposition.

CFA Institute v. American Society of Pension Professionals & Actuaries, et. al.* United States
District Court for the Western District of Virginia, Charlottesville Division. Expert Report.
Deposition.

Match Group LLC* v. Bumble Trading Inc., Bumble Holding, LTD., Badoo Trading Limited,
Magic Lab Co., Worldwide Vision Limited, Badoo Limited, Badoo Software Limited, and
Badoo Technologies Limited. United States District Court for the Western District of Texas,
Waco Division. Expert Report. Deposition.

ClearPlay, Inc. v. Dish Network, L.L.C. and Echostar Technologies, L.L.C.* United States
District Court, District of Utah, Central Division. Expert Report.


Class Action Matters

Vicky Maldonado, et. al., v. Apple, Inc.* United States District Court, Northern District of
California, San Francisco Division. Expert Report. Deposition.

Jason DeCarlo v. Costco Wholesale Corporation and MBNR.* United States District Court
Southern District of California. Expert Report.

Javier Cardenas et al., Plaintiffs v. Toyota Motor Corporation et al., Defendants.* United States
District Court Southern District of Florida. Expert Report. Deposition.




NERA Economic Consulting                                                                            6
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Brian Gozdenovich et al., v. AARP Inc., AARP Services, Inc., AARP Insurance Plan,
UnitedHealth Group, Inc., and UnitedHealthCare Insurance Company.* United States District
Court District of New Jersey. Expert Report.

Barbara Lewis, et al., v. Rodan & Fields, LLC.* United States District Court Northern District of
California Oakland Division. Expert Report. Deposition.

Austin Rugg v. Johnson & Johnson Consumer Inc.* United States District Court Norther District
of California San Jose Division. Expert Report.

Caryn Gorzo, et al., v. Rodan & Fields, LLC.* The Superior Court of California County of San
Francisco. Expert Report.

Toya Edwards and Jamal Erakat, et al., v. Walmart, Inc.* United States District Court, Central
District of California. Expert Report. Deposition.

Ohio State Troopers Association, Inc., et al., & Miguel Porras v. Point Blank Enterprises, Inc.*
United States District Court, Southern District of Florida. Expert Report. Deposition.


Other Matters

TreeHouse Foods, Inc., Bay Valley Foods, LLC, and Strum Foods, Inc.,* v. Keurig Green
Mountain, Inc. United States District Court for the Southern District of New York. Expert
Reports. Deposition.


2019

Intellectual Property Matters

Sazerac Brands, LLC* v. Bullshine Distillery, LLC. In the United States Patent and Trademark
Office Before the Trademark and Trial Appeal Board. Opposition No. 91227653. Expert Report.
Deposition.

X One* v. Uber Technologies, Inc. United States District Court Northern District of California.
Expert Report. Deposition.

NIKE, Inc. v. Skechers U.S.A., Inc.* United States District Court, Central District of California.
Expert Report. Deposition.

Vital Pharmaceuticals, Inc. v. Monster Energy Company and Reign Beverage Company, LLC.*
United States District Court Southern District of Florida. Expert Report. Deposition.

Mahindra & Mahindra, Ltd. and Mahindra Automotive North America, Inc.* v. FCA US LLC.




NERA Economic Consulting                                                                             7
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United States District Court, Eastern District of Michigan. Expert Report. Deposition. ITC Trial
Testimony.

Rex Real Estate I., L.P., v. Rex Real Estate Exchange, Inc.* United States District Court for the
Eastern District of Texas, Sherman Division. Expert Report.

adidas America, Inc., et al. v. Forever 21 Inc., et al.* United States District Court District of
Oregon Portland Division. Expert Report.

Lodestar Anstalt v. Bacardi & Company Limited, Bacardi U.S.A., Inc., and Bacardi Limited.*
United States District Court Central District of California, Western Division. Expert Report.
Deposition.


Class Action Matters

Paul Stockinger et al. v. Toyota Motor Sales, U.S.A., Inc.* United States District Court Central
District of California. Expert Report. Deposition.

Collin Shanks v. Jarrow Formulas, Inc.* United States District Court Central District of
California. Expert Report.

Crystal Hilsley vs. Ocean Spray Cranberries, Inc.*, Arnold Worldwide LLC. United States
District Court Western District Southern District of California. Expert Report. Deposition.

Erin Allen et al. v. Conagra Foods Inc.* United States District Court Northern District of
California San Francisco Division. Expert Report. Deposition.

Riley Johannessohn, Daniel C. Badilla, James Kelley, Ronald Krans, Kevin R. Wonders,
William Bates, James Pinion* v. Polaris Industries, Inc. United States District Court District of
Minnesota. Expert Report. Deposition.


Other Matters

In re: Windstream Holdings, Inc., et al., Debtors. Windstream Holdings Inc., et. al.* v. Charter
Communications, Inc. and Charter Communications Operating, LLC. United States Bankruptcy
Court, Southern District of New York. Chapter 11, Case No. 19-22312 (RDD). Expert Report.

Belcher Pharmaceuticals, LLC v. Hospira, Inc.* United States District Court for the Middle
District of Florida, Tampa Division. Expert Report. Deposition.

State of Washington* v. TVI, INC., d/b/a Value Village. State of Washington King County
Superior Court. Expert Report. Deposition. Trial Testimony.




NERA Economic Consulting                                                                            8
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Tortilla Factory, LLC vs. GT’s Living Foods, LLC*. United States District Court for The Central
District of California. Expert Report.

Obagi Cosmeceuticals LLC* v. ZO Skin Health, Inc. and Zein E. Obagi, M.D. JAMS Arbitration
Proceeding. Expert Report. Deposition. Arbitration Testimony.

James Pudlowski, Louis C. Cross, III, Gail Henry, Steve Henry v. St. Louis Rams, LLC, St.
Louis Rams Partnership, ITB Football Company, LLC*. Expert Report.

People of the State of California vs. The Hertz Corporation, American Traffic Solutions, Inc.,
ATS Processing Services, L.L.C., American Traffic Solutions Consolidated, L.L.C., PlatePass,
L.L.C.* Deposition.


2018

Intellectual Property Matters

Spangler Candy Company vs. Tootsie Roll Industries, LLC*. United States District Court
Northern District of Ohio Western Division Toledo. Expert Report. Deposition.

American Automobile Association of Northern California, Nevada & Utah and A3 Mobility
LLC v. General Motors LLC and Maven Drive LLC*. United States District Court Northern
District of California San Jose Division. Expert Report. Deposition.

Merck & Co., Inc., and Merck Sharp & Dohme Corp. v. Merck KGaA*. United States District
Court District of New Jersey. Expert Report. Deposition.

MZ Wallace Inc. v. Sue Fuller, d/b/a/ The Oliver Thomas, and Black Diamond Group, Inc.*
United States District Court Southern District of New York. Expert Report. Deposition.

Newmark Realty Capital, Inc.* v. BCG Partners, Inc. United States District Court Northern
District of California San Jose Division. Expert Report. Deposition.

Advice Interactive Group, LLC* v. Web.Com Group, Inc. United States District Court for the
Middle District of Florida Jacksonville Division. Expert Report. Deposition.

Global Brand Holdings, LLC* v. Church & Dwight Co., Inc. United States District Court
Southern District of New York. Expert Report. Deposition.

Forever 21, Inc.* v. Gucci America, Inc., and Guccio Gucci S.p.A. United States District Court
Central District of California Western Division. Expert Report. Deposition.

Masterbuilt Manufacturing, LLC v. Wal-Mart Stores, Inc.* United States District Court for the
Middle District of Georgia Columbus Division. Expert Report. Deposition.




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Strategic Partners, Inc.* v. Koi Design, LLC. United States District Court Central District of
California. Expert Report.

Hard Rock Café International (USA), Inc., and Tarsadia Hotels v. RockStar Hotels, Inc.* United
States District Court for the Southern District of Florida Fort Lauderdale Division. Expert
Report.

Ghostbed, Inc. and Werner Media Partners, LLC d/b/a Nature’s Sleep, LLC v. Casper Sleep,
Inc., Red Antler, LLC and ICS, Inc.* United States District Court for the Southern District of
Florida. Expert Report. Deposition.


Class Action Matters

Kaylee Browning and Sarah Basile v. Unilever United States, Inc.* United States District Court
Central District of California. Expert Report. Deposition.

Scott R. Bernard v. Public Power, LLC*. In the Circuit Court of Cook County, Illinois County
Department, Chancery Division. Expert Report.

Kristian Zamber v. American Airlines, Inc.* United States District Court Southern District of
Florida Miami Division. Expert Report. Deposition.

Thomas Blitz v. Monsanto Company.* United States District Court Western District of
Wisconsin. Expert Report. Deposition.


Other Matters

State of Washington* v. Johnson & Johnson, Ethicon, Inc. Ethicon US, LLC. King County
Superior Court State of Washington. Expert Report.

Steven A. Conner DPM, P.C. v. Optum 360, LLC.* United States District Court Eastern District
of Pennsylvania. Expert Report. Deposition.

State of Washington* v. Comcast Cable Communications Management, LLC, et. al. State of
Washington King County Superior Court. Expert Report. Deposition. Trial Testimony.

Josephine James Edwards v. Hearst Communications, Inc.* United States District Court for the
Southern District of New York. Expert Report. Deposition.


2017

Intellectual Property Matters




NERA Economic Consulting                                                                         10
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Shelia Dashnaw, et. al. v. New Balance Athletics, Inc.* United States District Court Southern
District of California. Expert Report. Deposition.

Tri-Union Seafoods, LLC v. Otis McAllister, Inc.* United States Patent and Trademark Office
before the Trademark Trial and Appeal Board. Expert Report.

Michael Kors, L.L.C.* v. Chunma USA, Inc. United States District Court Central District of
California. Expert Report. Deposition.

Weems Industries, Inc. v. Plews, Inc.* United States District Court for Northern District of Iowa,
Cedar Rapids Division. Expert Report. Deposition.

Mars Incorporated and Mars, Petcare US, Inc. v. The J. M. Smucker Company and Big Heart
Pet, Inc.* United States District Court for the Eastern District of Virginia. Expert Report.
Deposition.

Professional Liability Insurance Services, Inc. v. U.S. Risk, Inc. and Crystal Jacobs.* United
States District Court for Western District of Texas, Austin Division. Expert Report. Deposition.

Luxe Hospitality Company, Inc.* v. SBE Entertainment Group. United States District Court
Central District of California. Expert Report. Deposition.


Class Action Matters

Martin Schneider, et. al. v. Chipotle Mexican Grill, Inc.* United States District Court Northern
District of California. Expert Report. Deposition.

Trevor Singleton et. al. v. Fifth Generation, Inc. d/b/a Tito’s Handmade Vodka.* United States
District Court for the Northern District of New York. Expert Report. Deposition.


Other Matters

State of Arizona v. Volkswagen AG, et. al.* Superior Court of the State of Arizona – Maricopa
County. Expert Report.

ADT LLC, and ADT US Holdings, Inc., v. Vivint, Inc.* United States District Court Southern
District of Florida Palm Beach Division. Expert Report. Deposition.


2016

Intellectual Property Matters




NERA Economic Consulting                                                                           11
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Scat Enterprises, Inc. v. FCA US LLC.* United States District Court for the Central District for
California Western Division. Expert Report.

YETI Coolers, LLC v. RTIC Coolers, LLC.* United States District Court Western District of
Texas, Austin Division. Expert Report. Deposition.

adidas America, Inc. et. al. v. Skechers USA, Inc.* District of Oregon. Portland Division. Expert
Report. Deposition. Preliminary Injunction Hearing Testimony.
AMID, Inc.* v. Medic Alert Foundation United States, Inc. d/b/a Medic Alert Foundation and
Justin Noland. Southern District of Texas. Houston Division. Expert report in trade dress
infringement matter. Expert Report. Preliminary Injunction Hearing Testimony.

GIT-R-DONE Productions Inc.* v. GITERDONE C Store LLC. Southern District of Mississippi.
Southern Division. Expert Report.

Teferi Abebe Bikila. et. al. v. Vibram USA, Inc. et. al.* District of Washington at Tacoma.
Expert Report.

QuickChek Corporation* v. Gold Associates, Inc. District of New Jersey. Expert Report.

Select Comfort Corporation; and Select Comfort SC Corporation* v. John Baxter; Dires LLC;
Scott Stenzel; and Craig Miller and Digi Craft Agency and Direct Commerce. Expert Report.
Deposition. Trial Testimony.


Other Matters

Desiccare, Inc. v. Boveda, Inc.* and Charles Rutherford. United States District Court for the
Central District of California. Expert Report. Deposition.

Lifeway Foods Inc. v. Millennium Products, Inc. d/b/a GT’S Kombucha/ Synergy Drinks/
CocoKeifer LLC.* United States District Court Central District of California. Expert Report.
Deposition.

In the Matter of Certain Potassium Chloride Powder Products. United States International Trade
Commission, Washington DC. Expert Report.

Surgiquest, Inc. v. Lexion Medical LLC*. District Court of Delaware. Expert Report.
Deposition. Trial Testimony.

State of Oregon* v. Living Essentials LLC and Innovation Ventures LLC. Circuit Court of the
State of Oregon. Trial Testimony.

Noah Silver-Sky, Fabian Lozano, and Jorge Rodriguez; and ROES 1-400 v. SRAC Holdings I,
INC., Strategic Restaurants Acquisition Company, LLC, Strategic Restaurants Acquisition



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Company II, LLC, Strategic Restaurants Acquisition Corp.* American Arbitration Association –
Commercial Arbitration Tribunal. Expert Report. Deposition.

Homeland Housewares, LLC and Nutribullet, LLC v. SharkNinja Operating LLC.* Central
District of California, Western Division. Expert Report. Deposition.

* Retaining party

Publications and Presentations
“A tale of two cups: Acquired distinctiveness and survey evidence before the TTAB.” (May-June
2020), with Healey Whitsett. The Trademark Reporter.

“Survey response bias and the ‘privacy paradox’: Evidence from a discrete choice experiment.”
(May, 2020), with Garrett Glasgow and Samantha Iyengar in Applied Economics Letters. DOI:
10.1080/13504851.2020.1770183.

NAD Panel – “Consumer Perception Survey Design Safeguards & Pitfalls.” National
Advertising Division Annual Meeting, New York, NY (September, 2019).

INTA Panel – “Surveys in the Brave New World: Designing and Using Survey Evidence in the
Age of Online Shopping, Influencers and Hashtags.” Annual Meeting, Boston MA (May, 2019).

“The value of non-personally identifiable information to consumers of online services: evidence
from a discrete choice experiment,” (2016) with Garrett Glasgow in Applied Economics Letters,
DOI: 10.1080/13504851.2016.1197357.

“Using Survey Methods to Demonstrate the Value of Personal Information and Privacy” (May
2015) Panel on Privacy, Security and IRBs – American Association for Public Opinion
Research, Annual Meeting, Hollywood Florida.

“Battle of the Experts—Deploying the Proper Scientific Methodology for Supporting or
Challenging Claims” (March 13, 2015) invited panelist at the Advanced Forum on Resolving &
Litigating Advertising Disputes.

“Effective Use of Surveys in Trademark Litigation,” (August, 2014) Knowledge Group
Webinar.

“The Use of Statistical Sampling Post-Duran,” (August, 2014) Law360.

“The Value of Personal Information to Consumers of Online Services: Evidence from a
Discrete Choice Experiment,” (June 19, 2014). National Economic Research, Inc.

“An assessment of the nonmarket benefits of the Water Framework Directive for households in
England and Wales,” with Metcalfe, Baker, Andrews, Atkinson, Bateman, Carson, East, Gueron,




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Sheldon and Train in Water Resources Research, 48:W10516. (Paper awarded Editor’s Choice
Award for 2013).

ABA Webinar “The Use of Surveys in Advertising Substantiation” (June 23, 2011).

“Meeting the New Standards for Reasonable Royalties,” (February, 2011) with Mario Lopez.
Law360.

“Survey Evidence in False Advertising Cases,” (Winter, 2010). The Antritrust Trial Practice
Newsletter.

“The Use of Surveys in Litigation: Recent Trends,” (April, 2010) with Kent Van Liere. National
Economic Research Associates, Inc.

“Emerging Issues in the Use of Surveys in Trademark Infringement on the Web,” with Kent Van
Liere. Paper published in the Advanced Trademark & Advertising Law Conference proceedings,
September 2007, Seattle, WA.

“An Analysis of the Hypothetical Situations in Willingness to Pay Studies.” Paper presented at
the July 2006 Thematic Seminar “Quality Criteria in Survey Research,” hosted by World
Association for Public Opinion Research, Lake Como, Italy.

“Use of Surveys in Intellectual Property Disputes,” (2005) with Eugene P. Ericksen, in Economic
Approaches to Intellectual Property Policy, Litigation and Management Issues, Gregory K.
Leonard and Lauren J. Stiroh (eds.) National Economic Research Associates, Inc.

“Response Rate Standards: Lessons from the 2004 Presidential Polls.” Paper presented at the
2005 Annual Meeting of American Association of Public Opinion Research, Miami Beach, FL.

“Using Surveys to Determine Damages in Patent Infringement Cases” presented at Calculating
and Proving Patent Damages workshop, March 2004 Charlotte, NC.

“Using Surveys to Determine Damages in Patent Infringement Cases” presented at Calculating
and Proving Patent Damages workshop, January 2004 San Diego, CA.

“Using Surveys to Determine Damages in Patent Infringement Cases” presented at Calculating
and Proving Patent Damages workshop, June 2003, McLean, VA.



Professional Associations
Member, American Association of Public Opinion Research and World Association for Public
Opinion Research, Member, American Statistical Association, Member, American Bar
Association, Intellectual Property Section, Member, International Trademark Association
(INTA), Reviewer for Trademark Reporter, Member, American Marketing Association.



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